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                         UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                 RALEIGH DIVISION

 IN RE:                                                       CASE NO. 18-02154-5-JNC

 RANDY P. COLEY,                                              Chapter 11
            Debtor-in-Possession

                                     NOTICE OF MOTION

 TO:    ALL CREDITORS AND PARTIES IN INTEREST.

        NOTICE IS HEREBY GIVEN that on this day, Randy P. Coley, the
 Debtor-in-Possession, has filed an Application for Approval to Employ J.M. Cook, P.A as
 counsel for the Debtor;

        FURTHER NOTICE IS HEREBY GIVEN that this Motion may be allowed provided
 no response and request for a hearing is made by a party in interest in writing to the Court, U.S.
 Bankruptcy Court, P.O. Box 791, Raleigh, 27602, and serve a copy on the attorney listed below,
 within 21 days from date of this Notice; and,

        FURTHER NOTICE IS HEREBY GIVEN, that if a response and a request for a
 hearing is filed by a party in interest in writing within the time indicated, a hearing will be
 conducted on the Motion and response thereto at a date to be determined by the United States
 Bankruptcy Court. Any party filing an objection requesting a hearing, shall appear at said
 hearing or they may be taxed with Court costs.

        This 30th day of April 2018.

                                                      J.M. Cook, P.A.

                                                  By: /s/ J.M. Cook 
                                                     J.M. Cook
                                                     5886 Faringdon Place
                                                     Suite 100
                                                     Raleigh, NC 27609
                                                     Tel: (919) 675-2411
                                                     Fax: (919) 882-1719
                                                     Email: J.M.Cook@jmcookesq.com
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                                  UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                          RALEIGH DIVISION
IN RE: RANDY P COLEY,                                           CASE NO: 18-02154-5-JNC
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 11
                                                                ECF Docket Reference No. 8




On 5/1/2018, I did cause a copy of the following documents, described below,
Application for Approval to Employ J.M. Cook, P.A as counsel for the Debtor ECF Docket Reference No. 8




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 5/1/2018
                                                          /s/ J.M. Cook
                                                          J.M. Cook 25352

                                                          J.M. Cook, P.A.
                                                          5886 Faringdon Place, Suite 100
                                                          Raleigh, NC 27609
                                                          919 675 2411
                                                          j.m.cook@jmcookesq.com
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                                        UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF NORTH CAROLINA
                                                RALEIGH DIVISION
 IN RE: RANDY P COLEY,                                                    CASE NO: 18-02154-5-JNC

                                                                          CERTIFICATE OF SERVICE
                                                                          DECLARATION OF MAILING
                                                                          Chapter: 11
                                                                          ECF Docket Reference No. 8




On 5/1/2018, a copy of the following documents, described below,

Application for Approval to Employ J.M. Cook, P.A as counsel for the Debtor ECF Docket Reference No. 8




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth
herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced
document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is
true and correct to the best of my knowledge, information, and belief.

DATED: 5/1/2018




                                                                             Jay S. Jump
                                                                             BK Attorney Services, LLC
                                                                             d/b/a certificateofservice.com, for
                                                                             J.M. Cook
                                                                             J.M. Cook, P.A.
                                                                             5886 Faringdon Place, Suite 100
                                                                             Raleigh, NC 27609
         Case 18-02154-5-JNC
PARTIES DESIGNATED AS "EXCLUDE" WERE Doc  10 Filed
                                     NOT SERVED      05/01/18
                                                VIA USPS         Entered
                                                         FIRST CLASS MAIL 05/01/18 10:44:08      Page 4 of     4
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                BBT                                      BBT
LABEL MATRIX FOR LOCAL NOTICING          ATTN MANAGING AGENT OR OFFICER           ATTN MANAGING AGENT OR OFFICER
04175                                    PO BOX 580050                            PO BOX 580435
CASE 18-02154-5-JNC                      CHARLOTTE NC 28258-0050                  CHARLOTTE NC 28258-0435
EASTERN DISTRICT OF NORTH CAROLINA
RALEIGH
MON APR 30 18-07-50 EDT 2018



BBT BANKRUPTCY SECTION                   BANK OF AMERICA                          BANKRUPTCY ADMINISTRATOR
ATTN MANAGING AGENT OR OFFICER           PO BOX 982238                            TWO HANNOVER SQUARE STE 640
PO BOX 1847                              EL PASO TX 79998-2238                    434 FAYETTEVILLE STREET
WILSON NC 27894-1847                                                              RALEIGH NC 27601-1701




                                                                                  DEBTOR
CITIBANK                                 CLYDE CANUP
ATTN MANAGING AGENT OR OFFICER           552 STRATFORD PKWY                       RANDY P COLEY
PO BOX 9001037                           WINDER GA 30680-4904                     202 BRITTANY PLACE
LOUISVILLE KY 40290-1037                                                          CARY NC 27511-6001




EXCLUDE                                  DIRECTV LLC                              DIRECTV LLC
JM COOK                                  ATTN MANAGING AGENT OR OFFICER           ATTN MANAGING OFFICER OR AGENT
JM COOK PA                               160 MINE LAKE CT STE 200                 2260 EAST IMPERIAL HIGHWAY
5886 FARINGDON PLACE SUITE 100           RALEIGH NC 27615-6417                    EL SEGUNDO CA 90245-3501
RALEIGH NC 27609-3932




EMPLOYMENT SECURITY COMMISSION           GEORGE SANDERSON                         GORDON REES SCULLY MANSUKHANI LLP
PO BOX 26504                             ELLIS WINTERS LLP                        ATTN ROBERT SHAW PARTNER
RALEIGH NC 27611-6504                    4131 PARKLAKE AVENUE SUITE 400           421 FAYETTEVILLE ST
                                         RALEIGH NC 27612-2390                    RALEIGH NC 27601-1792




INTERNAL REVENUE SERVICE                 KELLEY MCLAREN                           KIMBERLI COLEY
CENTRALIZED INSOLVENCY OPERATIONS        THE FINLEY GROUP                         202 BRITTANY PLACE
PO BOX 7346                              212 SOUTH TRYON ST STE 1050              CARY NC 27511-6001
PHILADELPHIA PA 19101-7346               CHARLOTTE NC 28281-0003




MIKE CANUP                               NC DEPARTMENT OF REVENUE                 NC DEPT OF REVENUE
3213 MANOR RIDGE DRIVE                   OFFICE SERVICES DIV BANKRUPTCY UNIT      OFFICE SERV DIV BANKRUPTCY UNIT
RALEIGH NC 27603-4813                    PO BOX 1168                              PO BOX 1168
                                         RALEIGH NC 27602-1168                    RALEIGH NC 27602-1168




SECRETARY OF THE TREASURY                SECURITIES EXCHANGE COMMISSION           US ATTORNEY
1500 PENNSYLVANIA AVE NW                 OFFICE OF REORGANIZATION                 310 NEW BERN AVENUE SUITE 800
WASHINGTON DC 20220-0001                 950 EAST PACES RD STE 900                FEDERAL BUILDING
                                         ATLANTA GA 30326-1382                    RALEIGH NC 27601-1461




US ATTORNEY
310 NEW BERN AVENUE SUITE 800
FEDERAL BLDG
RALEIGH NC 27601-1461
